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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION


KATHY JUANITA REAVES,

              Plaintiff,

       V.                                            CV 121-120


CORTERO CARTEZ FOSTER;
MICHAEL DANIEL HUCKO;
RICHARD R.ROUNDTREE;and
RICHMOND COUNTY SHERIFF OFFICE,
a/k/a Richmond County SheriffDepartment,

               Defendants.



                                          ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion

and DENIES Plaintiffs renewed motions to proceed informa paueris. (Doc. nos. 7, 9.) In

accordance with Local Rule 4.1, Plaintiff shall have twenty-one calendar days from the date

of service of this Order to pay the $402.00 filing fee. Should Plaintiff fail to make timely

payment, the Court DIRECTS the CLERK to dismiss the case without prejudice, terminate

the pending motion to amend,(doc. no. 13), and close this civil action on the twenty-fiflh day

after the date of this Order.' Of course, should Plaintiff pay the $402.00 filing fee, the case

will proceed in the normal course of business. Should Plaintiff not pay the $402.00 but file

       'In accordance with Federal Rule of Civil Procedure 6(d), three days are added to the
deadline because the Clerk of Court serves pro se Plaintiff by United States mail. Therefore, the
twenty-one-day deadline becomes a twenty-four day deadline.
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any other motion prior to the filing fee deadline, the Clerk shall take no action with respect to

dismissing the case until further Order of the Court.

       SO ORDERED this^2^!^^y of September,2021, at Augusta, Georgia.


                                                  A
                                            J. RAND^^HALL, CHIEF JUDGE
                                            UNITED STATES DISTRICT JUDGE
                                            SOUTHER^ DISTRICT OF GEORGIA
